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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                ABILENE DIVISION

A.A.R.P., on his own behalf and on behalf
of all others similarly situated, et al.,

        Petitioners-Plaintiffs,

v.                                                            No. 1:25-CV-059-H

DONALD J. TRUMP, in his official
capacity as President of the United States, et
al.,

        Respondents-Defendants.

                                            ORDER
       Before the Court is the petitioners’ renewed emergency motion for a temporary

restraining order. Dkt. No. 30. The motion states that the petitioners “move to add

F.G.M.[] as a named plaintiff.” Id. at 3.

       The request to add F.G.M. as a named plaintiff is denied without prejudice for

failure to comply with Federal Rule of Civil Procedure 15. However, the petitioners may

file an amended or supplemental petition in accordance with Rule 15 and this Court’s Local

Rules adding F.G.M. as a named plaintiff. In the alternative, F.G.M. may file his own

habeas petition.

       If the petitioners add F.G.M. as a new named plaintiff in the instant suit, the

petitioners are advised that they must amend their motion for class certification (Dkt. No. 3)

to address F.G.M.’s effect on class certification. The government’s response to the motion

for class certification will also be expected to address arguments regarding F.G.M. All

deadlines regarding the briefing schedule on the motion for class certification (Dkt. No. 31)

remain in effect.
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     So ordered on April 18, 2025.



                                       JAMES WESLEY HENDRIX
                                       UNITED STATES DISTRICT JUDGE




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